838 F.2d 468Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard TOWNES, Jr.,v.Stephen G. TEST, Assistant Commonwealth Attorney;  Albert D.Alberi, Assistant Commonwealth Attorney;  Thomas A. Baum,Virginia Beach Police Department;  J.  Curtis Fruitt, Clerkof Court;  Catherine B. Edwards, Court Reporter, Defendants-Appellees.
    No. 86-7359.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 31, 1986.Decided:  Jan. 12, 1988.
    
      Richard Townes, Jr., pro se.
      Before WIDENER, MURNAGHAN and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Townes v. Test, C/A No. 86-765-N (E.D.Va., Oct. 29, 1986).  We deny the appellant's "Motion to Incorporate Certified Court Records."
    
    
      2
      AFFIRMED.
    
    